Case 2:05-cr-00022-JRG   Document 119   Filed 08/26/05   Page 1 of 6   PageID #: 1
Case 2:05-cr-00022-JRG   Document 119   Filed 08/26/05   Page 2 of 6   PageID #: 2
Case 2:05-cr-00022-JRG   Document 119   Filed 08/26/05   Page 3 of 6   PageID #: 3
Case 2:05-cr-00022-JRG   Document 119   Filed 08/26/05   Page 4 of 6   PageID #: 4
Case 2:05-cr-00022-JRG   Document 119   Filed 08/26/05   Page 5 of 6   PageID #: 5
Case 2:05-cr-00022-JRG   Document 119   Filed 08/26/05   Page 6 of 6   PageID #: 6
